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                                                                                                     Filed 8/31/2017 6:05 PM
                                                                                              Jo Ann Cervantes, District Clerk
                                                                                                    Val Verde County, Texas
                                                                                                                Sandy Garcia


                                    CAUSE NO. 33411

     ALGC, INC,                                                       IN THE DISTRICT COURT OF
         Plaintiff,

     .
     V
                                                                     VAL VERDE COUNTY, TEXAS
     UNITED STATES LIABILITY
     INSURANCE GROUP, NCA
     INSURANCE AGENCY, INC.,
     WILLIAM ROHRMAN, MARK
     KELLEY AND GEORGE CLINTON,
          Defendants.                                                    83RD JUDICIAL DISTRICT



                            PLAINTIFF'S ORIGINAL PETITION AND
                                REQUEST FOR DISCLOSURE


 TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW, ALGC, INC. ("Plaintiff'), and files this Plaintiff's Original Petition,

complaining of United States Liability Insurance Group ("USLIG"), NCA Insurance Agency Inc.,

("NCA") William Rahman ("Rahman"), Mark Kelley ("Kelley"), and George Clinton

("Clinton") (collectively referred to as "Defendants"), and for cause of action, Plaintiff would

respectfully show this Honorable Court the following:

                                 DISCOVERY CONTROL PLAN
1.       Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the Texas

         Rules of Civil Procedure. This case involves complex issues involving a weather related

         claim on a commercial building under a commercial insurance policy. There are numerous

         Texas Insurance Code Statutes involved governing the handling and adjustment of the

         claim. The issues involved in this dispute and between the parties and their respective

         duties will require extensive discovery. Plaintiff will ask the Court to order that discovery
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       be conducted in accordance with a discovery control plan tailored to the particular

       circumstances of this suit.

                                           PARTIES

 2.    Plaintiff ALGC, Inc. is a business located in and owning property in Val Verde County,

       Texas.

3.     Defendant United States Liability Insurance Group ("USLIG") is a foreign insurance

       company engaging in the business of insurance in the State of Texas. This defendant may

       be served with personal process by serving its Attorney for Service, Lisa Mann, Brigham,

      Mann & House, 4500 Yoakum Blvd Houston, Texas 77006.

4.    Defendant NCA is an adjusting company engaged in the business of adjusting insurance

      claims in the State of Texas. This defendant may be served with personal process by

      serving Attn: President or Highest Ranking Officer 855 Uvalde Road Ste. C Houston,

      Texas 77015 or by serving its Registered Agent: Martha M. Hammock 14314 Arborcrest

      Street Houston Texas 77062.

5.    Defendant William Rohrman is an individual residing in and domiciled outside of the State

      of Texas. This defendant may be served with personal process at 1190 Devon Park Dr.

      Wayne, PA 19087, or whereever he may be found.

6.    Defendant Mark Kelley is an individual residing in and domiciled in the State of Texas.

      This defendant may be served with personal process at 5503 Newcome San Antonio,

      78240, or wherever he may be found.

7.    Defendant George Clinton is an individual residing in and domiciled in the State of Texas.

      This defendant may be served with personal process by a process server at 3100 S. Gessner

      Ste 400 Houston, Texas 77063, or wherever he may be found.



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                                           JURISDICTION
  8.      The Court has jurisdiction over this cause of action because the amount in controversy is

         within the jurisdictional limits of the Court. Plaintiff is seeking monetary relief over

         $1,000,000, Plaintiff reserves the right to amend its petition during and/or after the

         discovery process.

 9.      The Court has jurisdiction over Defendant USL1G because this defendant is a foreign

         insurance company that engages in the business of insurance in the State of Texas, and

         Plaintiff's causes of action arise out of this defendant's business activities in the State of

         Texas.

 10.    The Court has jurisdiction over Defendant NCA because this defendant engages in the

        business of adjusting insurance claims in the State of Texas, and Plaintiff's causes of action

        arise out of this defendant's business activities in the State of Texas.

 11.    The Court has jurisdiction over Defendant Rorlunan because this defendant engages in the

        business of adjusting insurance claims in the State of Texas, and Plaintiff's causes of action

        arise out of this defendant's business activities in the State of Texas.

12.     The Court has jurisdiction over Defendant Kelley because this defendant engages in the

       business of adjusting insurance claims in the State of Texas, and Plaintiff's causes of action

       arise out of this defendant's business activities in the State of Texas.

13.    The Court has jurisdiction over Defendant Clinton because this defendant engages in the

       business of adjusting insurance claims in the State of Texas, and Plaintiff's causes of action

       arise out of this defendant's business activities in the State of Texas.

14.    Plaintiff is not making any claims for relief under federal law against any Defendant nor

       does this lawsuit involve a federal question.



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                                               VENUE

 15.    Venue is proper in Val Verde County, Texas, because the insured property is situated in

        Val Verde County, Texas. TEx. CIV. PRAC. & REM. CODE §15.032.

                                               FACTS

 16.    Plaintiff is the owner of a Texas Commercial Insurance Policy (hereinafter referred to as

        "the Policy"), which was issued by USLIG. Plaintiff owns the insured property, which is

        specifically located at 2210 Doodson Blvd Building 1 and 2 Del Rio, Texas 78840, in Val

        Verde County (hereinafter referred to as "the Property" or "Plaintiff's Property"). USLIG

        sold the Policy insuring the Property to Plaintiff,

17.     On or around February 22, 2016, a hail storm and/or windstorm struck Val Verde County,

       Texas, causing severe damage to homes and businesses throughout the area, including

       Plaintiff's Property ("the Storm"). The roof of the Property sustained damage during the

       Storm. Water intrusion through the roof caused significant damage throughout the entire

       Property including, but not limited to, the Property's ceilings, walls, exterior, insulation,

       and interior of the Property. Plaintiff's Property also sustained substantial structural and

       exterior damage during the Storm. Plaintiff filed a claim with its insurance company,

       USLIG, for the damages to its property caused by the Storm.

18.    Plaintiffsubmitted a claim to USLIG against the Policy for roof damage, structural damage,

       water damage, and wind damage the Property sustained as a result of the Storm. Plaintiff

       asked that USLIG cover the cost of repairs to the Property pursuant to the Policy, including,

       but not limited to, replacement of the roof and replacement and/or repair of the interior

       water damages and exterior damages such as the damage to the HVAC units.

19.    Defendant USLIG assigned Defendant Rohrrnan to adjust the claim. Defendant Rohrraan,



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         on behalf of USLIG, then assigned Defendant NCA to adjust the claim. Defendant NCA

         then assigned Defendants Kelley and Clinton to be the individual adjusters on the claim.
 20.     The adjusters were improperly trained and failed to perform a thorough investigation of

         Plaintiff's claim. On or about April 26, 2016, Kelley conducted an unreasonable and

         substandard inspection of the Property. As evidenced in his estimate report dated

         September 2016, Kelley's inspection found storm damage to limited areas of Plaintiff's

        roof(s), fascia, window screens and air conditioner. Not only did Kelley omit several

        covered damages from his report, but the damages that were included in his estimate were

        merely for the repair of some damages, including the roof, rather than their replacement

        which was warranted by the severity of the Storm damages. The unreasonableness and

        inadequacy of Kelley's inspection is also evidenced by his report, which failed to include

        all of Plaintiff's Storm damages noted upon inspection, only included damage to the roof

        and minimal damage to the exterior of the property. Moreover, the damage to the roof,

        fascia, windows and air conditioner that Kelley actually included in his report were grossly

        undervalued. Ultimately, Kelley failed to properly scope Plaintiff's damages,

       underestimated, and undervalued the cost of repairs to the damaged items, thereby failing

       to allow adequate funds to cover the cost of repairs to all the damages sustained. Further,

       Kelley inadequate investigation was relied upon by Defendants USLIG and Rohrman in

       this action and resulted in Plaintiff's claim being undervalued and underpaid.

21.    After disputing Kelley's findings, on or about March of 2016, Defendant USLIG and/or

       Defendant Rohrman and/or Defendant NCA and/or Defendant Kelley hired Rimkus

       Consulting Group, Inc. ("Rimkus"), an engineering firm known to be hired guns to the

       insurance industry, to inspect the Property to determine cause and origin of the loss. As



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          expected, Rimkus opined that the roof has sustained dents from hail but that it did not cause

          any damage; instead Rimkus asserted the roof had damage from deterioration or faulty

          installation and that was the reason for leaks to the interior of the property. Likewise, after

          inspecting only four of the nine HVAC units damaged by the Storm, Rimkus also opined

          the HVAC units were not damaged, but rather just in need of some general maintenance.

         Ultimately, Rimkus' findings rendered Plaintiff's damage to the roof(s) and HVAC units

         to be an uncovered loss under the property.

 22.     The severity of the damages and mishandling of Plaintiff's claim lead Plaintiff to seek the

         services of a public adjuster to assist on the claim. The public adjuster also conducted

         several inspections of the property and was present for many of the inspections conducted

         by Rimkus, yet found the damage to be a covered loss under the terms of the policy.
 23.    Even though Defendants were aware of damage and the public adjuster's stance that the

        loss was covered under the policy, on or about October 2016, Kelley sent the public

        adjuster a revised estimate of his initial report. This time, perhaps prompted by the

        inclusion of a public adjuster, Kelley's damage report for Plaintiff's Property included an

        damages amounting to 50% more than was previously allowed for by his most recent

        September 2016 estimate- a discrepancy further evidencing Defendants' inadequate

       inspection and mishandling of Plaintiff's claim.

24.     After receiving Defendants' revised October 2016 estimate, Defendants finally decided to

       issue payment on Plaintiff's claim-about 7 months after the claim was filed. More

       importantly, the amount issued, was wholly deficient to cover all the necessary repairs to

       Plaintiff's Property. Specifically, on November 16, 2016, Defendant sent a letter to

       Plaintiff and the public adjuster stating the issued payment was subject to a co-insurance



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        provision in the Policy. The co-insurance provision in Plaintiffs Policy limits Plaintiff's

        ability to recovery by a formula as assessed freely by Defendant. This self-serving formula,

        then yields a percentage which is considered against the policy limits. The percentage is

        used to determine what amount will be paid of Plaintiff's Actual Cash Value. Defendant

       Clinton was assigned to value the property for purposes of the co-insurance formula.

       Consistent with the manner in which Plaintiff's claim was mishandled thus far, Defendant

       Clinton values the property at an amount that would yield low payments according to the

       formula. In other words, although Defendants most recently revised estimate found

       damages to Plaintiff's Property amounting to over $188,000 at RCV — an amount still

       significantly less than the public adjuster's estimate for damages- the Defendant friendly

       co-insurance provision net Plaintiff approximately $140,000 — about half the amount of

       actual damages found by the public adjuster. To date, Plaintiff has yet to receive full

       payment on this claim for damages sustained by the storm.

25,   Together, Defendants USLIG, NCA, Rahman, Kelly, and Clinton, set out to deny

      Plaintiff's claim by conducting an outcome oriented investigation of Plaintiff's claim.

      Among many instances, Defendants first sought to deny many covered damages by under

      estimating and underscoring Plaintiff's damages, next by hiring Rimkus to conduct its own

      outcome oriented investigation of Plaintiff's claim, then by valuing Plaintiff's property to

      benefit USLIG via the self-serving co-insurance calculation.

26.   Moreover, the adjusters assigned to Plaintiff's claim were improperly trained and failed to

      perform a thorough investigation of Plaintiff's claim. The adjusters assigned to Plaintiffs

      claim were aware of Rimkus' reputation and the likelihood of it concluding against the

      coverage of Plaintiff's claim - a probable reason for Defendants' use of Rimkus on



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         Plaintiff's claim. By relying on Rinikus' faulty, biased determinations as to the cause and

         origin of damage, Plaintiff's claim was improperly adjusted and Plaintiff was denied the

        adequate funds necessary to complete the repairs. The mishandling of Plaintiff's claim has

        also caused a delay in its ability to fully repair its Property, which has resulted in additional

        damages. To this date, Plaintiff has yet to receive the full payment to which it is entitled

        under the Policy.

 27.    As detailed in the paragraphs below, USLIG wrongfully denied Plaintiff's claim for repairs

        of the Property. Furthermore, USLIG under-scoped the damages during its investigation.

28,     To date, USLIG continues to delay in the payment for the damages to the Property. As

        such, Plaintiff has not been paid in full for the damages to its Property.

29.     Defendant USLIG failed to perform its contractual duties to adequately compensate

        Plaintiff under the terms of the Policy. Specifically, it refused to pay the full amount to

       cover damages under the Policy, although due demand was made for proceeds to be paid

       in an amount sufficient to cover the damaged property, and all conditions precedent to

       recovery upon the Policy had been carried out and accomplished by Plaintiff USLIG

       conduct constitutes a breach of the insurance contract between USLIG and Plaintiff

30.    Defendants USLIG, NCA, Rohrman, Kelly and Clinton misrepresented to Plaintiff that the

       damage to the Property was not covered under the Policy, even though the damage was

       caused by a covered occurrence. Defendants USLIG, NCA, Rohnnan, Kelly and Clinton's

       conduct constitutes a violation of the Texas Insurance Code. TEX. INS. CODE

       §54.1.060(a)(1).

31.    Defendants USLIG, NCA, Rohmian, Kelly and Clinton failed to make an attempt to settle

       Plaintiff's claim in a fair manner, although they were aware of their liability to Plaintiff



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         under the Policy. Defendants USLIG, NCA, Rohrman, Kelly and Clinton's conduct

         constitutes a violation of the Texas Insurance Code. TEX. INS. CODE §541.060(a)(2)(A).

 32.     Defendants USLIG, NCA, Rohrman, Kelly and Clinton failed to explain to Plaintiff the

        reasons for their offer of an inadequate settlement. Specifically, Defendant USLIG, NCA,

        Rohrman, Kelly and Clinton failed to offer Plaintiff adequate compensation, without any

        explanation why full payment was not being made. Defendants USLIG, NCA, Rolirman,

        Kelly and Clinton did not communicate that any future settlements or payments would be

        forthcoming to pay for the entire losses covered under the Policy, nor did they provide any

        explanation for the failure to adequately settle Plaintiff's claim. Defendants USLIG, NCA,

        Rohrman, Kelly and Clinton's conduct is a violation of the Texas Insurance Code. TEX,

        INS. CODE §541.060(a)(3).

33.     Defendants USLIG, NCA, Rohrman, Kelly and Clinton failed to affirm or deny coverage

       of Plaintiff's claim within a reasonable time. Plaintiff did not receive timely indication of

       acceptance or rejection, regarding the full and entire claim, in writing from Defendants

       USLIG, NCA, Rohrman, Kelly and Clinton. Defendants USLIG, NCA, Rohrman, Kelly

       and Clinton's conduct constitutes a violation of the Texas Insurance Code. TEX, INS. CODE

       §541.060(a)(4).

34.    Defendants USLIG, NCA, Rohrman, Kelly and Clinton refused to fully compensate

       Plaintiff under the terms of the Policy, even though Defendants USLIG, NCA, Rohrman,

       Kelly and Clinton failed to conduct a reasonable investigation. Defendants USLIG, NCA,

       Rohrman, Kelly and Clinton performed an outcome-oriented investigation of Plaintiff's

       claim, which resulted in a biased, unfair, and inequitable evaluation of Plaintiff's losses on

       the Property. Defendants USLIG, NCA, Rohrman, Kelly and Clinton's conduct constitutes



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         a violation of the Texas Insurance Code. TEX. INS. CODE §541.060(a)(7).

 35,    Defendant USLIG failed to meet its obligations under the Texas Insurance Code regarding

        timely acknowledging Plaintiff's claim, beginning an investigation of Plaintiff's claim, and

        requesting all information reasonably necessary to investigate Plaintiff's claim, within the

        statutorily mandated time of receiving notice of Plaintiff's claim. USLIG's conduct

        constitutes a violation of the Texas Insurance Code, TEX. INS. CODE §542.055.

 36.    Defendant USLIG failed to accept or deny Plaintiff's full and entire claim within the

        statutorily mandated time of receiving all necessary information. USLIG 's conduct

        constitutes a violation of the Texas Insurance Code. TEX. INS. CODE §542.056.

37.     Defendant USLIG failed to meet its obligations under the Texas Insurance Code regarding

        payment of claim without delay. Specifically, it has delayed full payment of Plaintiff's

        claim longer than allowed, and, to date, Plaintiff has not received full payment for their

       claim. USLIG's conduct constitutes a violation of the Texas Insurance Code. TEX. INS.

       CODE §542.058,

38.    From the time Plaintiff's claim was presented to Defendant USLIG, the liability of USLIG

       to pay the full claim in accordance with the terms of the Policy was reasonably clear.

       USLIG has refused to pay Plaintiff in full, despite there being no basis whatsoever on which

       a reasonable insurance company would have relied to deny the full payment. USLIG's

       conduct constitutes a breach of the common law duty of good faith and fair dealing.

39.    Defendants USLIG, NCA, Rohrman, Kelly and Clinton knowingly or recklessly made false

       representations, as described above, as to material facts and/or knowingly concealed all or

       part of material information from Plaintiff

40.    As a result of Defendants USLIG, NCA, Rohrman, Kelly and Clinton's wrongful acts and



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         omissions, Plaintiff was forced to retain the professional services of the law firm who is

        representing them with respect to these causes of action.

 41.    Plaintiff's experience is not an isolated case. The acts and omissions USLIG committed in

        this case, or similar acts and omissions, occur with such frequency that they constitute a

        general business practice of USLIG with regard to handling these types of claims.

        USLIG's entire process is unfairly designed to reach favorable outcomes for the company

        at the expense of the policyholders.

                                     CAUSES OF ACTION:

                           CAUSES OF ACTION AGAINST USLIG ONLY

42,     Defendant USLIG is liable to Plaintiff for intentional breach of contract, as well as

        intentional violations of the Texas Insurance Code, and intentional breach of the common

        law duty of good faith and fair dealing,

                                     BREACH OF CONTRACT

43.    Defendant USLIG 's conduct constitutes a breach of the insurance contract made between

       USLIG and Plaintiff.

44.    Defendant USLIG's failure and/or refusal, as described above, to pay adequate

       compensation as it is obligated to do under the terms of the Policy in question and under

       the laws of the State of Texas, constitutes a breach of USLIG's insurance contract with

       Plaintiff.

                       NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                            UNFAIR SETTLEMENT PRACTICES

45.    Defendant USLIG ' s conduct constitutes multiple violations of the Texas Insurance Code,

       Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations under this article

       are made actionable by TEX. INS. CODE §541.151.

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  46.      Defendant USLIG 's unfair settlement practice, as described above, of misrepresenting to

           Plaintiff material facts relating to the coverage at issue, constitutes an unfair method of

           competition and an unfair and deceptive act or practice in the business of insurance. TEX.
           INS. CODE §541.060(a)(1).

  47.      Defendant USLIG 's unfair settlement practice, as described above, of failing to attempt in

          good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

          USLIG's liability under the Policy was reasonably clear, constitutes an unfair method of

          competition and an unfair and deceptive act or practice in the business of insurance. TEX.
          INS. CODE §541.060(a)(2)(A).

 48.      Defendant USLIG's unfair settlement practice, as described above, of failing to promptly

         provide Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the

         facts or applicable law, for its offer of a compromise settlement of the claim, constitutes an

         unfair method of competition and an unfair and deceptive act or practice in the business of

         insurance. TEX. INS. CODE §541.060(a)(3).

49.      Defendant USLIG's unfair settlement practice, as described above, of failing within a

         reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit a

        reservation of rights to Plaintiff, constitutes an unfair method of competition and an unfair

        and deceptive act or practice in the business of insurance, TEX. INS. CODE §541.060(a)(4).
50.     Defendant USLIG's unfair settlement practice, as described above, of refusing to pay

        Plaintiff's claim without conducting a reasonable investigation, constitutes an unfair

        method of competition and an unfair and deceptive act or practice in the business of

        insurance. TEX. INS. CODE §541.060(a)(7).

                       NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                            THE PROMPT PAYMENT OF CLAIMS

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  51.     Defendant USLIG's conduct constitutes multiple violations of the Texas Insurance Code,

          Prompt Payment of Claims. All violations made under this article are made actionable by

          TEX. INS. CODE §542.060.

 52.      Defendant USLIG's failure to acknowledge receipt of Plaintiff's claim, commence

          investigation of the claim, and request from Plaintiff all items, statements, and forms that

          it reasonably believed would be required within the applicable time constraints, as

          described above, constitutes a non-prompt payment of claims and a violation of TEX. INS.

         CODE §542.055.

 53.     Defendant USLIG's failure to notify Plaintiff in writing of its acceptance or rejection of

         the claim within the applicable time constraints, constitutes a non-prompt payment of the

         claim. TEX. INS. CODE §542.056.

54.      Defendant USLIG's delay of the payment of Plaintiff's claim following its receipt of all

         items, statements, and forms reasonably requested and required, longer than the amount of

         time provided for, as described above, constitutes a non-prompt payment of the claim.

        TEX. INS. CODE §542.058.

                             ACTS CONSTITUTING ACTING As AGENT
55.     As referenced and described above, and further conduct throughout this litigation and

        lawsuit, Defendants NCA, Rahman, Kelly, and Clinton are agents of USLIG based on

        their acts during the handling of this claim, including inspections, adjustments, and aiding

        in adjusting a loss for or on behalf of the insurer. TEX. INS. CODE §4001,051.

56.     Separately, and/or in the alternative, as referenced and described above, USLIG ratified the

        actions and conduct of Defendants NCA, Rohrman, Kelly, and Clinton including the

        completion of their duties under the common law and statutory law.

                  BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
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 57.     Defendant USLIG's conduct constitutes a breach of the common law duty of good faith

         and fair dealing owed to insureds in insurance contracts.

 58.     Defendant USLIG's failure, as described above, to adequately and reasonably investigate

         and evaluate Plaintiff's claim, although, at that time, USLIG knew or should have known

         by the exercise of reasonable diligence that its liability was reasonably clear, constitutes a

         breach of the duty of good faith and fair dealing.

                 CAUSES OF ACTION AGAINST ROHRMAN, KELLEY AND CLINTON

                        NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                             UNFAIR SETTLEMENT PRACTICES

59.     Defendant USLIG and/or NCA assigned Defendants Rohrman, Kelley, and Clinton to

        adjust the claim. Defendants Rohrman, Kelley and Clinton were improperly trained to

        handle claims of this nature and performed an unreasonable investigation of Plaintiff's

        damages. Specifically, during all phases of the investigation, Defendants Rohrman, Kelley

        and Clinton failed to properly assess Plaintiff's hail storm and/or windstorm damages.

       Defendants Rohrman, Kelley and/or Clinton misrepresented that Plaintiff's damages were

       not covered under the Policy, when, in fact, the damages would have been much greater

       had a reasonable investigation been conducted.

60.    Defendants Rohnnan, Kelley and Clinton actively participated in the adjustment of

       Plaintiff's claim, but failed to conduct a reasonable investigation. Defendant Rohm=

       failed to thoroughly review Defendant Clinton and Kelley's assessments of the claim

       and/or property and ultimately approved and/or submitted an inaccurate report of the

       damages. Had Defendant Rohnna.n even performed a cursory review of Clinton and/or

       Kelley's work on Plaintiff's claim, it would have been clear that Plaintiff's claim was

       completely mishandled.


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 61.     Defendants Rohrman, Kelley and Clinton's conduct constitutes multiple violations of the

         Texas Insurance Code, *Unfair Settlement Practices, TEX. INS. CODE §541.060(a). All

         violations under this article are made actionable by TEX. INS. CODE §541.151.

 62.     Defendants Roluinan, Kelley and Clinton are each individually liable for their unfair and

         deceptive acts, irrespective of the fact each was acting on behalf of USLIG, because each

         is a "person" as defined by TEX. INS. CODE §541.002(2). The term "person" is defined as

         "any individual, corporation, association, partnership, reciprocal or interinsurance

        exchange, Lloyds plan, fraternal benefit society, or other legal entity engaged in the

        business of insurance, including an agent, broker, adjuster or life and health insurance

        counselor." TEX. INS. CODE §541.002(2) (emphasis added). (See also Liberty Mutual

        Insurance Co. v. Garrison Contractors, Inc., 966 S.W.2d 482, 484 (Tex. 1998) (holding

        an insurance company employee to be a "person" for the purpose of bringing a cause of

        action against him or her under the Texas Insurance Code and subjecting him or her to

        individual liability)).

63.     Falsehoods and misrepresentations may be communicated by actions as well as by the

       spoken word; therefore, deceptive conduct is equivalent to a verbal representation.

       Defendants' misrepresentations by means of deceptive conduct include, but are not limited

       to: (1) failing to conduct a reasonable inspection and investigation of Plaintiff's damages;

       (2) stating that Plaintiff's damages were less severe than they in fact were; (3) using their

       own statements about the non-severity of the damage as a basis for denying properly

       covered damages and/or undeipaying damages; and (4) failing to provide an adequate

       explanation for the inadequate compensation Plaintiff received. Defendants Rohrman,

       Kelley and Clinton unfair settlement practice, as described above and the example given



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         herein, of misrepresenting to Plaintiff material facts relating to the coverage at issue,

         constitutes an unfair method of competition and an unfair and deceptive act or practice in

         the business of insurance. TEX. INS. CODE §541.060(a)(1).

 64.     Defendants Rolunian, Kelley and Clinton unfair settlement practice, as described above,

         of failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of

         the claim, even though liability under the Policy is reasonably clear, constitutes an unfair

        method of competition and an unfair and deceptive act or practice in the business of

        insurance. TEX. INS. CODE §541.060(a)(2)(A).

 65.    Defendants Rohnnan, Kelley and Clinton failed to explain to Plaintiff the reasons for their

        offer of an inadequate settlement. Specifically, Defendants Rohrman, Kelley and Clinton

        failed to offer Plaintiff adequate compensation without any explanation as to why full

        payment was not being made. Furthermore, Defendants did not communicate that any

        future settlements or payments would be forthcoming to pay for the entire losses covered

        under the Policy, nor did they provide any explanation for the failure to adequately settle

       Plaintiff's claim. The unfair settlement practice of Defendants Rohmian, Kelley and

       Clinton as described above, of failing to promptly provide Plaintiff with a reasonable

       explanation of the basis in the Policy, in relation to the facts or applicable law, for the offer

       of a compromise settlement of Plaintiff's claim, constitutes an unfair method of

       competition and an unfair and deceptive act or practice in the business of insurance. TEX.

       INS. CODE §541.060(a)(3).

66.    Defendants Rohnnan, Kelley and Clinton unfair settlement practice, as described above,

       of failing within a reasonable time to affirm or deny coverage of the claim to Plaintiff, or

       to submit a reservation of rights to Plaintiff, constitutes an unfair method of competition


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         and an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE

         §541.060(a)(4).

 67,     Defendants Rottman, Kelley and Clinton did not properly inspect the Property and failed

         to account for and/or undervalued many of Plaintiff's damages, although reported by

        Plaintiff to USLIG. Defendants Rohrman, Kelley and Clinton's unfair settlement practice,

        as described above, of refusing to pay Plaintiff's claim without conducting a reasonable

        investigation, constitutes an unfair method of competition and an unfair and deceptive act

        or practice in the business of insurance. Tex. Ins. Code §541.060(a)(7).

                         CAUSES OF ACTION AGAINST DEFENDANTS NCA

                         NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                               UNFAIR SETTLEMENT PRACTICES

68.     NCA's conduct constitutes multiple violations of the Texas Insurance Code, Unfair

        Settlement Practices. TEX. INS. CODE §541.060(a). All violations under this article are

        made actionable by TEX. INS. CODE §541.151.

69.    NCA's unfair settlement practice, as described above, of misrepresenting to Plaintiff

       material facts relating to the coverage at issue, constitutes an unfair method of competition

       and an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE

       §541.060(a)(1).

70.    NCA's unfair settlement practice, as described above, of failing to attempt in good faith to

       effectuate a prompt, fair, and equitable settlement of the claim, even though liability under

       the Policy was reasonably clear, constitutes an unfair method of competition and an unfair

       and deceptive act or practice in the business of insurance. TEX. INS. CODE

       §541.060(a)(2)(A).

71.    Defendant NCA's unfair settlement practice, as described above, of failing to promptly

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           provide Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the

           facts or applicable law, for its offer of a compromise settlement of the claim, constitutes an

           unfair method of competition and an unfair and deceptive act or practice in the business of

          insurance. TEX. INS CODE 54I .060(a)(3).

  72.     Defendant NCA's unfair settlement practice, as described above, of failing within a

          reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit a

          reservation of rights to Plaintiff constitutes an unfair method of competition and an unfair

          and deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(4).
 73.      Defendant NCA's unfair settlement practice, as described above, of refusing to pay

         Plaintiff's claim without conducting a reasonable investigation, constitutes an unfair

         method of competition and an unfair and deceptive act or practice in the business of

         Insurance. TEX. INS. CODE §541.060(A)(7).

                                           KNOWLEDGE
74.      Each of the acts described above, together and singularly, was done "knowingly," as that

         term is used in the Texas Insurance Code, and was a producing cause of Plaintiff's damages
         described herein.

                                            DAMAGES
75.     Plaintiff would show that all of the aforementioned acts, taken together or singularly,

        constitute the producing causes of the damages sustained by Plaintiff.
76.     As previously mentioned, the damages caused by the Storm have not been properly

        addressed or repaired in the months since the Storm, causing further damages to the

        Property and causing undue hardship and burden to Plaintiff. These damages are a direct

        result of Defendants USLIG, NCA. Rohr-man, Kelley and Clinton's mishandling of



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           Plaintiff's' claim in violation of the laws set forth above.

  77.     For breach of contract, Plaintiff is entitled to regain the benefit of its bargain, which is the

          amount of its claim, together with attorney's fees.

  78.     For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

          is entitled to actual damages, which include the loss of the benefits that should have been

          paid pursuant to the policy, mental anguish, court costs, and attorney's fees. For knowing

          conduct of the acts described above, Plaintiff asks for three times its actual damages. TEX.

          INS. CODE §541.152.

 79.      For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

         entitled to the amount of its claim, as well as eighteen (18) percent interest per annum on

         the amount of such claim as damages, together with attorney's fees. TEX. INS. CODE

         §542.060.

 80.     For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

         compensatory damages, including all forms of loss resulting from the insurer's breach of

         duty, such as additional costs, economic hardship, losses due to nonpayment of the amount

         the insurer owed, exemplary damages, and damages for emotional distress.

81.     For the prosecution and collection of this claim, Plaintiff has been compelled to engage the

        services of the attorney whose name is subscribed to this pleading. Therefore, Plaintiff is

        entitled to recover a sum for the reasonable and necessary services of Plaintiff's attorneys

        in the preparation and trial of this action, including any appeals to the Court of Appeals

        and/or the Supreme Court of Texas.

                                         JURY DEMAND
82.     Plaintiff hereby requests that all causes of action alleged herein be tried before a jury


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         consisting of citizens residing in Val Verde County, Texas. Plaintiff hereby tenders the

         appropriate jury fee.

                                  REQUEST FOR DISCLOSURE

 83.     Pursuant to Rule 194, Defendants are requested to disclose, within fifty (50) days of service

        of this request, the information or material requested in Rule 194.2(a)-(1).

                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof,

Plaintiff have and recover such sums as would reasonably and justly compensate it in accordance

with the rules of law and procedure, as to actual damages, treble damages under the Texas

Insurance Code, and all punitive and exemplary damages as may be found. In addition, Plaintiff

requests the award of attorney's fees for the trial and any appeal of this case, for all costs of Court

on its behalf expended, for prejudgment and postjudgrnent interest as allowed by law, and for any

other and further relief, either at law or in equity, to which it may show itself justly entitled.

                                               Respectfully submitted,


                                                 /s/ Rene M. Sigman
                                                Rend M. Sigman
                                                State Bar No. 24037492
                                                nnsdocket@merlinlawgroup.corn
                                                J. Ryan Fowler
                                               State Bar No. 24058357
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                                               (713) 626-8880 (Office)
                                               (713) 626-8881 (Facsimile)

                                              ATTORNEYS FOR PLAINTIFF




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(Ft .2.4SSENo
                                                FOR SHERIFF'S RETURN
                                              CITATION PERSONAL SERVICE
    THE STATE OF TEXAS:                               Cause No. 33411
    ALGC, INC.,
    Plaintiff
                                                                                 IN THE DISTRICT COURT
   VS
                                                                                 83RD JUDICIAL DISTRICT
   UNITED STATES LIABILITY INSURANCE GROUP,                      §
   NCA INSURANCE AGENCY, INC., WILLIAM                                           VAL VERDE COUNTY, TEXAS
   ROHRIVIAN, MARK KELLEY AND GEORGE
   CLINTON,
   Defendants

  TO: UNITED STATES LIABILITY INSURANCE GROUP, BY SERVING ITS ATTORNEY POR SERVICE, LISA MANN,
  BRIGHAM, MANN & HOUSE, 4500 Yoakum Blvd, Houston, Harris County, Texas 77006; Defendant GREETINGS

  NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do not file a
  written answer with the clerk who Issued this citation by 10:00 am on the Monday next following the expiration of
  20 days after the date you were served this citation and petition, a default judgment may be taken against you."

  You are hereby commanded to appear by filing a written answer to the Plaintiff's Original Petition at or before 10:00 o'clock
  A.M. on the Monday next after the expiration of 20 days after the date of service of this citation before the Honorable 83rd
  Judicial District Court of Val Verde County, at the Courthouse, 100 E. Broadway, 3rd Root., in said County in Del Rio,
  Texas, Said Plaintiff's Original Petition was filed in said court on the 31't day of August. 2017 In the above entitled cause.

  The nature of Plaintiff's demand is fully shown by a true and correct copy of Plaintiff's Original Petition accompanying this
  citation and made a part hereof.

 Issued and given under my hand and seal of said Court at Del Rio, Texas this 1.3,Lh day of September, 2017.
  Attorney for Plaintiff (or Plaintiff):                                  Clerk of the Court:
 Rene M. Sigman
                                                                          JO ANN CERVANTES, DISTRICT CLERK
 MERLIN LAW GROUP, P.A.                                                    63rd & 83rd District Courts
 515 Post Oak Blvd,, Ste 750                                             Val Verde County, Texas
 Houston, Texas 77027                                                    P.O. Box 1544, Del Rio, T      78841-1544
                                                                                By:
                                                                                      Deputy
                                                     OFFICER'S RETURN
 Came to hand on the            day of                         2017 at           o'clock
 defendant                                                                                    M and executed by delivering to
                                                   In person, a true copy of this citation with a copy of the petition attached
 thereto on the           day of                               at            o'clock       M at
                                                in                            County, Texas.
  j Not executed. The diligence use in finding defendant being

  ) Information received as to the whereabouts of defendant being
Fees
Sheriff/Constable

Service I.D. No.                                                                                      County, Texas
                                                                       By:
                                                                             Deputy/Authorized Person
                                                       VERIFICATION
        On this day personally appeared
                                                                                   known to me to be the person whose name
is subscribed on the foregoing instrument arid who has stated: upon penalty of perjury, I attest that the foregoing instrument
has been executed by me in this cause pursuant to the Texas Rules of Civil Procedure. lam over the age of eighteen years
and I am not a party to or interested in the outcome of this suit, and have been authorized by the Val Verde County Courts to
serve process.
        Subscribed and sworn to before me on this the               day of                   , 2017.

                                                                                                      ,Notary Public
